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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                             CRIMINAL 10-0113CCC

 1) RICARDO BETANCOURT-MUNOZ
 2) JOSE RAMON PARRA-BOTERO
 3) WILLIAM GARZON
 4) CARLOS MAESTRE-ASTACIO
 5) MANUEL DE JESUS CEDENO-VILORIO
 6) MIGUEL ANGEL BUILES-MEJIA
 7) JOSE GOMEZ-CUBERO and
 8) JOSE I. VALENTIN-LOPEZ
 Defendants


                                       ORDER
       Having considered the Report and Recommendation filed on June 17, 2011 (docket
entry 57) on a Rule 11 proceeding of defendant (8) José I. Valentín-López held before U.S.
Magistrate Judge Bruce J. McGiverin on June 17, 2011, to which no opposition has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant José I. Valentín-
López is accepted. The Court FINDS that his plea was voluntary and intelligently entered
with awareness of his rights and the consequences of pleading guilty and contains all
elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 17, 2011.      The sentencing hearing is set for
September 28, 2011 at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 28, 2011.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
